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3553 _/;»l/

United States District Court

WESTERN DISTRICT OF TENNESSEE
Eastern Division

 

JUDGMENT IN A CIVIL CASE

UNITED STATES OF AMERICA,
v.

JACK RAY AUSTIN, CASE NUl‘\/|BER: 1104-1302-T/An
02-'10007-‘| -T

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered

lT lS ORDERED Al\lD ADJUDGED that in compliance With the order entered in
the above-styled matter on 6/21/2005, this case is hereby D|Sl\/llSSED. lt is further

ordered that the Certificate of Appea|ability is DEN|ED and CERT|F|ED that any
Appea| by plaintiff is not taken in good faith.

APPROVED:

WL'W~

JAM D. TODD
UNI D STATES DISTRICT JUDGE

THOMAS M. GOULD

 

 

CLERK
él/a?;/$/j%€; BY: M;az
DATE DEPUTY CLE`RK

This document entered on the docket sheet in compliance

with Rule 58 and/or 79(a) FRCP on l L- 05 <©

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 1:04-CV-01302 Was distributed by faX, mail, or direct printing on
June 24, 2005 to the parties listed.

 

 

lack Ray Austin

FEDERAL CORRECTIONAL INSTITUTION
18877-076

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Memphis7 TN 38134--055

Honorable J ames Todd
US DISTRICT COURT

